Case 2:03-cv-02155-.]PI\/|-STA Document 107 Filed 06/23/05 Page 1 of 2 Page|D 104

 

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UNITED STATES DISTRICT COURT "”
WESTERN DISTRICT OF TENNESSEE 05 JUH 23 PH q
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RICKY ADAMS, ) V""r)- U' ii\¢ wi-.,:vir'i'iib
Plaintiff, )
v. ) Case No. 03-2155 Ml/A
CITY OI"" MEMPHIS, )
Defendant. )

 

ORDER GRANTING PLAINTIFF’S UNOPPOSED MO'I'ION
FOR PERMISSION TO ADD PAGE 20 OF PLA[NTIFF’S SUPPLEMENTED
RESPONSE TO DEFENDANT’S MOTlON FOR SUMMARY JUDGEMENT TO THE
RECORD IN rI`HIS CASE

 

Before the Court is the P|aintiff’s Unopposed Motion for Pen'nission to Add Page
20 of Plaintiff’s Supp|emented Response to Defendant’s Motion or Summary Judgment
to the Record in this Case. Page 20 was attached to Piaintiff’s pending motion seeking
permission For good cause shown, the motion is GRANTED. The Cierk is therefor
directed to add page 20 to Plaintiff’s previously filed Suppiementec| Response to
Defendant's Motion for Summary Judgment.

n is so oRoERED, this 35 day of he , 2005.

 

   

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This notice confirms a copy of the document docketed as number 107 in
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Honorable J on McCalla
US DISTRICT COURT

